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Exhibit G
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SERVICE MARK
PRINCIPAL REGISTER

NORTHWEST AIRLINES EVERY DAY DEALS

NORTHWEST AIRLINES, INC. (MINNESOTA
CORPORATION)

5101 NORTHWEST DRIVE

ST. PAUL, MN 551113034

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